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                                       Exhibit 1




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                        IN THE UNITED STATES BANKRUPTCY CQURT
                             FOR THE ~IST~2~C'~' OF ~~I,AWARE

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In re:                                                                   Chapter 11

REMINGTON pUTDOOR COMPANY,INC., et                                       Case No. 18-1 Q684(~
al.,l


                                   Debtors.                             (Jgint Administration Requested)
      -------------------------------------------------------    x


             DEBTORS' MOTION FOR ENTRY OF ORDER AUTHORIZING
           DEBTORS TO FILE (I) CONSOLIDATED LIST OF CREDITORS AND
              (II) CONSOLIDATED LIST OF TOP THIRTY Cl2EDITQRS

         Remington Outdoor Company, Inc. and its affiliated debtors, as debtors and debtors-in-

possession (collectively, the "Debtors") in the above-captioned chapter 11 cases (the "Chapter 11

Cases"), hereby file this motion (the "Motion") for entry of an order, pursuant to sections 341,

105(a) and 521 of title 11 of the United States Code (the "Bankruptcy Gode"), section 156(c) of

title 28 of the United States Code ("Section 156(c)"), rule 1007 of the Federal Rules of

Bankruptcy Procedure (the `Bankruptcy Rules"), and Rules 1001-1(c), 1Q07-2, 2002-1, and

9013-1(m) of the of the Local Rules of Bankruptcy Practice and Procedure of the United States

Bankruptcy Court for the District of Delaware (the "Local Rules"), substantially in the form

attached hereto as Exhibit A,(i) authorizing the Debtors to file a consolidated list of creditors,

(ii) authorizing the Debtors to file a consolidated list ofthe Debtors' thirty (30) largest unsecured



    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor's federal tax identification
    number, as applicable, are: Remington Outdoor Company, Inc. (4491); FGI Holding Cpmpany, LLC (9899);
    FGI Operating Company, LLC (9774); Remington Arms Company, LLC (0935); Barnes Bullets, LLC (8510);
    TMRI, Inc. (3527); RA Brands, L.L.C. (1477); FGI Finance, Inc. (0109); Remington Arms Distribution
    Company, LLC (4655); Huntsville Holdings LLC (3525); 32E Productions, LLC (2381); Great Outdoors
    Holdco, LLC (7744); and Outdoor Services, LLC (2405). The principal offices of Debtor Remington Outdgor
    Company, Inc., the top-level holding company, are located at 870 Remington Drive, Madison, NC 27025.



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creditors, and (iii) granting certain related relief, as described more fully herein. In support of

this Motion, the Debtors respectfully state as follows:

                                              Jurisdiction

        1.         This court (the "Court") has jurisdiction over this matter pursuant to 28 U.S.C. §§

157 and 1334. This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2),

and the Court may enter a final order consistent with Article III of the United States Constitution.

The Debtors confirm their consent pursuant to Rule 9013-1(~ of the Local Rules to the entry of a

final order by the Court in connection with this Motion to the extent that it is later determined

that the Court, absent consent of the parties, cannot enter final orders or judgments in connection

herewith consistent with Article III of the United States Constitution.

        2.         Venue in the Court is proper under 28 U.S.C. §§ 1408 and 1409.

                                              Bacic~round

        3.         On March 25, 2018 (the "Petition Date"), each of the Debtors filed a voluntary

.petition for relief under chapter 11 of the Bankruptcy Code. The Debtors continue to operate

their businesses as debtors and debtors-in-possession pursuant to sections 1107(a) and 1108 of

the Bankruptcy Code. No party has requested the appointment of a trustee or examiner and no

committee has been appointed or designated in these Chapter 11 Cases. The Debtors' request for

joint administration of these Chapter 11 Cases for procedural purposes only is currently pending.

        4.         The Debtors are one of America's oldest and largest manufacturers of firearms,

ammunition and related products for commercial, military, and law enforcement customers

throughout the world.         The Debtors employ approximately 2,700 full-time employees and

operate seven manufacturing facilities located across the United States. The Debtors' principal

headquarters are located in Madison, North Carolina.



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        5.         Prior to the Petition Date, the Debtors and a majority in principal amount of each

of the Debtors' term loan lenders and third lien noteholders entered into a restructuring support

agreement(the "RSA"), which set forth the terms of a comprehensive balance sheet restructuring

of the Debtors to be implemented through a joint prepackaged chapter 11 plan of reorganization

(the "Plan"). The Plan provides for the elimination of approximately $620 million of the

Debtors' prepetition-funded debt obligations in exchange for the reorganized Debtors' new

equity and certain other consideration. In addition, the Plan provides that substantially all other

claims against the Debtors, including all general unsecured claims, will either be paid in full in

the ordinary course or otherwise be unimpaired. The Plan thus will enable the Debtors to emerge

with a significantly deleveraged capital structure and to obtain the liquidity necessary to operate

the Debtors' businesses for the long-term future.

        6.         The Debtors commenced solicitation of the Plan prior to the Petition Date on

March 22, 2018 and have filed the Plan and accompanying disclosure statement concurrently

with the commencement of these Chapter 11 Cases. Pursuant to the milestones set forth in the

RSA,the Debtors`are seeking a joint hearing to consider approval of the disclosure statement and

confirmation of the Plan on or around May 3, 2018.

        7.         Additional information regarding the Debtors' businesses, assets, capital

structure, and the circumstances leading to the filing of these Chapter 11 Cases is set forth in the

Declaration of Stephen P. Jackson, Jr. in Support of Chapter 11 Petitions and First Day Pleadings

of Remington Outdoor Company, Inc. and its Affiliated Debtors and Debtors in Possession (the

"First Dav Declaration"), which is being filed contemporaneously herewith and is incorporated

by reference herein.




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                                                 Relief Requested

           8.      The Debtors seek entry of an order, pursuant to sections 341, 105(a) and 521 of

the Bankruptcy Code, Section 156(c), Bankruptcy Rule 1007, and Local Rules 1001 1(c), 1007-

2, 2002-1, and 9013-1(m), substantially in the form attached hereto as Exhibit A,(i) authorizing

the Debtors to file a consolidated list of creditors, (ii) authorizing the Debtors to file a

consolidated list of their top thirty (30) unsecured creditors, and (iii) granting certain related

relief.2

                                                  Basis for Relief

I.         Request for Authority to File Consolidated List of Creditors

           9.      The Debtors have identified approximately 18,000 creditors to which notice of

certain proceedings in the Chapter 11 Cases must be provided. The Debtors anticipate that such

notices would include notice of: (i) the filing of the Debtors' voluntary petitions under chapter 11

of the Bankruptcy Code, and (ii) notice of the proposed combined hearing to consider the

approval of the disclosure statement and confirmation of the Plan (collectively, the "Notices").

           10.     Rule 1007-2 of the Local Rules provides that in a voluntary chapter 11 case, the

debtor must file "a list containing the name and complete address of each creditor in such format

as directed by the Clerk's Office Procedures." Local Rule 2002-1(~(v) requires that in jointly

administered cases, each debtor, or its duly retained agent, maintain a separate creditor mailing

matrix. Local Rule 1001-1(c) permits modification of the Local Rules by the Court "in the

interest ofjustice."

           11.     The Debtors presently maintain various computerized lists of the names and

addresses of their respective creditors that are. entitled to receive the Notices and other

z'   In connection with this request, the Debtors also request authority to submit one declaration under Bankruptcy
     Rule 1008 verifying the validity of the consolidated list of creditors and one declaration verifying the validity of
     the Consolidated Top 30 List(as defined below).


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documents in the Chapter 11 Cases. The Debtors believe that the information, as maintained in

computer files (or those of their agents), may be consolidated and utilized efficiently to provide

interested parties with the Notices and other similar documents, as contemplated by Local Rule

1007-2. Requiring the Debtors to segregate and convert their computerized records to an entity-

specific creditor matrix format would be an unnecessarily burdensome task and would result in

duplicate mailings. Further, because of the prepackaged nature of these Chapter 11 Cases, the

Debtors do not believe that any party in interest will be prejudiced or otherwise materially

impacted.     Accordingly, by this Motion, the Debtors seek authority to file the lists on a

consolidated basis, identifying their creditors in the format or formats currently maintained in the

ordinary course ofthe Debtors' businesses.

        12.        Moreover, the Debtors anticipate filing a motion (the "Claims, Noticing and

Ballotin~A entg     Motion") seeking the appointment of Prime Clerk LLC (the "A~ent") as claims,

noticing and balloting agent in the Chapter 11 Cases. If the Claims, Noticing and Balloting

Agent Motion is granted, the Agent will, among other things,(a) assist with the consolidation of

the Debtors' computer records into a creditor and security holder database and (b) complete the

mailing of the Notices to the parties in these databases. After consultation with the Agent, the

Debtors believe that filing the lists in the format or formats currently maintained in the ordinary

course of business will be sufficient to permit the Agent'. to notice promptly all applicable parties

as required by Local Rule 1007-2.

II.     Request foi• Authority to File Consolidated List of Debtors' Top Thirty (30)
        Unsecured Credito~•s

        13.        Pursuant to Bankruptcy Rule 1007(d), a chapter 11 debtor must file with its

voluntary petition a list setting forth the names, addresses and claim amounts of the creditors,

excluding insiders, that hold the twenty (20) largest unsecured claims in the debtor's case. This


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list is primarily used by the United States Trustee for the District of Delaware (the "U.S.

Trustee") to evaluate the types and amounts of unsecured claims against the debtor and thus

identify potential candidates to serve on an official committee of unsecured creditors appointed

in the debtor's case pursuant to section 1102 of the Bankruptcy Code.3

         14.      The Debtors submit that a single consolidated list of their combined thirty (30)

largest unsecured creditors in the Chapter 11 Cases would be more reflective of the body of

unsecured creditors that have the greatest stake in these cases than separate lists for each of the

Debtors. Therefore, the Debtors respectfully request authorization to file a single consolidated

list of their thirty (30)largest unsecured creditors in these Chapter 11 Cases.

         15.      The Debtors believe that such relief is not only appropriate under the

circumstances, but necessary for the efficient and orderly administration of their Chapter 11

Cases.

         16.      Moreover, the Court has granted relief similar to the relief requested herein since

the modifications to Local Rule 2002-1(~(v) took effect. See, e.~., In re Central Grocers, Inc.,

Case No. 17-10993 (LSS)(Bankr. D. Del. May 4, 2017)(authorizing filing of a consolidated list.

of creditors in lieu of separate mailing matrices); In re American Apparel, Inc., Case No. 15-

12055 (BLS)(Bankr. D. Del. Oct. 13, 2015)(same); In re AWI Delaware, Inc., No. 14-12092

(KJC)(Bankr. D. Del. Sept. 10, 2014)(same); In re ~nte~ra Power Group LLC, No. 14-11859

(PJW)(Bankr. D. Del. Aug. 6, 2014)(same).




3   "The purpose of the separate list of[20] largest creditors required by this provision in the rules is to enable the
    clerk to identify members and the court to appoint immediately an unsecured creditors' committee in
    compliance with 11 U.S.C. § 1102(a)(1)." In re Dandy Doughboy Donuts, Inc., 66 B.R. 457, 458 (Bankr. S.D.
    Fla. 1986); see also 9 COLLIER ON BANKRUPTCY ¶ 1007.5, at 1007-23 (Alan N. Resnick et a1. eds., 15th
    ed. rev. 2008)("[T']he larger [unsecured creditor] list and information about the claims of the creditors on the
    list enables the United States Trustee to determine the different types of claims existing in order to assure that a
    fully representative committee is appointed.").



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                                               Notice

        17.        The Debtors will provide notice of this Motion to: (a)the Office of the United

States Trustee for the District of Delaware; (b) the entities listed on the Consolidated List of

Creditors Holding 30 Largest Unsecured Claims filed pursuant to Bankruptcy Rule 1007(d);

(c) counsel to Bank of America, N.A., as administrative agent and co-collateral agent under the

ABL Credit Agreement; (d) counsel to Ankura Trust Company, as successor administrative

agent under the Term Loan Agreement;(e) counsel to the Ad Hoc Group of Term Loan Lenders;

(~ counsel to Wilmington Trust, National Association, as trustee under the Third Lien Notes

Indenture; (g) counsel to the Ad Hoc Group of Third Lien Noteholders; and (h) all parties

entitled to notice pursuant to Local Rule 9013-1(m). The Debtors submit that, in light of the

nature of the relief requested and the circumstances surrounding this Motion, no other or further

notice need be given.

                                          No Prior Request

        18.        No prior motion for the relief requested herein has been made by the Debtors to

this or any other court.




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        WHEREFORE, the Debtors respectfully request entry of an order, substantially in the

form attached hereto as Exhibit A, (i) authorizing the Debtors to file a consolidated list of

creditors, (ii) authorizing the Debtors to file a consolidated list of the Debtors' thirty (30) largest

unsecured creditors, and (iii) granting such further relief as maybe appropriate and proper.

Dated: March 25, 2018
Wilmington, Delaware
                                        Respectfully submitted,

                                        PACI~.~TANG ZIEHL &JONES LLP


                                        ~d'ura Dates Jones(DE Bar No. 2436)
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                                        -and-

                                         MILBANK,TWEED,HADLEY & M`CLOY LLp
                                         Gregory A. Bray(Lnro hac vice admission pending)
                                         Thomas R. Kreller(pro hac vice admission pending)
                                         Haig M. Maghakian (pro hac vice admission pending)
                                         2029 Century Park East, 33rd Floor
                                         Los Angeles, CA 90067
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                                                       tkreller@milbank.com
                                                       hmaghakian@milbank.com

                                        Proposed Counsel to DebtoNs and Debtors in Possession




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                                     EXHIBIT A

                                Proposed Form of Order




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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR'THE I3IS~~CT OF I)ELA~IVARE

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In re:                                                                   Chapter 11

REMINGTON OUTDOOR COMPANY,INC., et                                       Case No. 18-106$4(~
al.,l


                                  Debtors.                              (Joint Administration Requested)


                          ORDER AUTHORIZING DEBTORS TO FILE
                        (I) CONSOLIDATED LIST OF CREDITORS AND
                   IIl CONSOLIDATED LIST OF TOP _THIRTY CREDITORS

         Upon consideration of the motion (the "Motion")2 of the above-captioned debtors and

debtors-in-possession (collectively, the "Debtors") seeking entry of an order (this "Order")

pursuant to sections 341, 105(a) and 521 of the Bankruptcy Code, Section 156(c), rule 1007 of

the Bankruptcy Rules, and rules 1Q01 1(c), 1007-2, 2002-1, and 9013-1(m) of the of the Local

Rules, (i) authorizing the Debtors to file a consolidated list of creditors, (ii) authorizing the

Debtors to file a consolidated list of the Debtors' thirty (30) largest unsecured creditors, and

(iii) granting certain related relief, all as more fully set forth in the Motion; and upon

consideration of the First Day Declaration; and this Court having jurisdiction over this matter

pursuant to 28 U.S.C. §§ 157 and 1334; and this Court having found that this is a core

proceeding pursuant to 28 U.S.C. § 157(b)(2), and that this Court may enter an Interim order



1   The Debtors in.these chapter 11 cases, along with the last four digits of each Debtor's federal tax identification
    number, as applicable, are: Remington Outdoor Company, Inc. (4491); FGI Holding Company, LLC (9899);
    FGI Operating Company, LLC (9774); Remington Arms Company, LLC (4935); Barnes Bullets, LLC (8510);
    TMRI, Inc. (3522); RA Brands, L.L.C. (1477); FGI Finance, Inc. (0109); Remington Arms Distribution
    Company, LLC (4655); Huntsville Holdings LLC (3525); 32E Productions, LLC (2381); Great Outdoors
    Holdco, LLC (7744); and Outdoor Services, LLC (2405). The principal offices of Debtor Remington Outdoor
    Company, Inc., the top-level holding company, are located at 870 Remington Drive, Madison, NC 27025.
2   Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.



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consistent with Article III of the United States Constitution; and this Court having found that

venue of this proceeding and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408

and 1409; and this Court having found that the Debtors' notice of the Motion and opportunity for

a hearing on the Motion were appropriate under the circumstances and no other notice need be

provided; and this Court having reviewed the Motion and having heard the statements in support

of the relief requested therein at a hearing before this Court (the "Hearing"); and this Court

having determined that the legal and factual bases set forth in the Motion and at the Hearing

establish just cause for the relief granted herein; and upon all of the proceedings had before this

Court; and after due deliberation and sufficient cause appearing therefor, it is HEREBY

ORDERED THAT:

        1.         The Motion is granted as set forth herein.

        2.         The Debtors are authorized to file a consolidated list of creditors.          The

requirements of Local Rule 1007-2(a) and Local Rule 2002-1(~(v) that separate mailing matrices

be submitted for each Debtor are permanently waived, and the Debtors are authorized to submit a

consolidated list of creditors; provided, however, that if any of these Chapter 11 Cases converts

to a case under chapter 7 of the Bankruptcy Code, the applicable Debtor shall file its

individualized creditor mailing matxix.

        3.         The Debtors are authorized to file a consolidated list of their thirty (30) largest

unsecured creditors.

        4.         The Debtors are authorized and empowered to take all actions necessary to

effectuate the relief granted pursuant to this Order in accordance with the Motion.




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                   The Court retains jurisdiction with respect to all matters arising from ar relating to

the implementation, interpretation, and enforcement of this Order.




Dated:     Wilmington, Delaware
                         . 2018


                                                   UNITED STATES BANKRUPTCY JUDGE




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